Case 4:19-mj-00433-BJ Document 8 Filed 05/21/19 Rage tofstprRagg7ycourT 4
NORTHERN DISTRICT OF TEXAS
IN THE UNITED STATES DISTRICT COURT LED

FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION WAY 24 2019

 

 

 

 

CLERK, U.S. DISTRICT COURT

 

 

 

B
UNITED STATES OF AMERICA § Ya re
§
V. § NO. 4:19-MJ-433
§
MICHAEL WEBB §

ORDER APPOINTING FEDERAL PUBLIC DEFENDER

The above-named defendant has testified under oath, or has otherwise satisfied this court that such defendant
(1) is financially unable to employ counsel, (2) wants to be represented by counsel, and (3) has not waived
representation by counsel; accordingly,

It is ordered that the Federal Public Defender’s.Office for this District be and hereby is appointed pursuant
to Section 3006A of Title 18, United States Code to represent the defendant named above.

It is further ordered that the Federal Public Defender’s Office be given immediate access to the above-named
Defendant.

Signed: May 21, 2019

prstle~_»

JEFFREYXZ CURETON
UNITE STATES MAGISTRATE JUDGE

 
